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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

In re:
WALTER CHRISTOPHER HALL                                               CASE NO. 22-13753-SMG
                DEBTOR /                                              CHAPTER 7

                MOTION TO REINSTATE DISMISSED CHAPTER 7 CASE
                         DUE TO SCRIVENER’S ERROR

       COME NOW the Debtor, WALTER CHRISTOPHER HALL, by and through the

undersigned counsel, and move for entry of an Order permitting the reinstatement of his dismissed

Chapter 7 and for cause states as follows:

       1.       Debtor filed for relief under Chapter 13 of the Bankruptcy Code on May 12, 2022.

       2.       Due to the Debtor’s Motion to Extend the Automatic Stay being denied, Debtor

                filed a Notice of Conversion to Chapter 7 on June 22, 2022.

       3.       The Order Upon Notice of Conversion to Chapter 7 was entered on June 23, 2022

                ( DE #31), requiring the Debtor to file, within 14 days, certain statements and

                schedules, Form 122A-1, among others.

       4.       An Order Dismissing Case (DE #37) was entered on July 12, 2022 for failure to

                filed Chapter 7 Statement of Your Current Monthly Income.

       5.       Through no fault of the Debtor and due to an inadvertent clerical error, the

                Statement of Your Current Monthly Income was not timely filed.

       6.       The Statement of Your Current Monthly Income (DE #38) was filed on July 13,

                2022.

                                       LEGAL ANALYSIS

       7.        Rule 59 of the Federal Rules of Civil Procedure, in relevant part, states as follows:

            (a)(2) Further Action After a Nonjury Trial. After a nonjury trial, the court
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                may, on motion for a new trial, open the judgment if one has been entered,
                take additional testimony, amend findings of fact and conclusions of law
                or make new ones, and direct the entry of a new judgment.

        8.      Made applicable to the Bankruptcy Courts, Rule 9023 of the Federal Rules of

 Bankruptcy Procedure, in relevant part, further provides:

                A motion for a new trial or to alter a judgment shall be filed, and a court
                may on its own order a new trial, no later than 14 days after entry of
                judgment.

        9.      Debtor’s request, by filing of the instant Motion, was timely made within 14 days

 of the Order sought to be amended.

        10.     The required, appropriate schedules and statements have been filed with the Court.

 See DE #37.

        11.     Should any deficiencies remain outstanding as of the time of this motion, Debtor

 will comply with the Court’s recommendations within ten (10) days of the date of the instant

 Motion.

        12.     No party will be prejudiced upon granting of the relief sought herein.


       WHEREFORE, Debtor WALTER CHRISTOPHER HALL respectfully request the entry

of an Order to reinstate their Chapter 7 Case and for whatever further relief this Honorable Court

deems just and proper.

       Respectfully submitted this 13th day of July 2022

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